             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:06-cr-00250-MR-1


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )                             ORDER
                                 )
                                 )
JOSEPH WENDELL BYRD, III,        )
                                 )
                   Defendant.    )
________________________________ )


     THIS MATTER is before the Court on the Government’s Motion to

Dismiss SRV Petition [Doc. 432].

     For the reasons stated therein, and for cause shown, the Court will

grant the Government’s Motion.

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 432] is GRANTED, and the supervised release violation

petition that is currently pending in this case [Doc. 426] is hereby

DISMISSED.                          Signed: February 5, 2013


     IT IS SO ORDERED.




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